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            EXHIBIT
            EXHIBIT A
                    A


                    Invoices
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                    LORDSTOWN MOTORS CORP.
                      TASK CODE SUMMARY
                DECEMBER 1, 2023 - DECEMBER 31, 2023


Code     Category                                         Hours       Amount
B110     Case Administration                                1.3       1,027.00
B160     Fee - Employment Applications                      1.5         750.00
B190     Other Contested Matters                            1.5       1,185.00
B200     Operations                                        23.2      18,096.00
B210     Business Operations                               34.5      19,228.50
B460     Securities Matters                                64.5      42,427.00

                                                          126.5      82,713.50
         Less Discounts                                              -8,271.35
         Total                                            126.5      74,442.15
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                              LORDSTOWN MOTORS CORP.
                                TIMEKEEPER SUMMARY
                          DECEMBER 1, 2023 - DECEMBER 31, 2023


Timekeeper               Title                                 Rate         Hours     Amount
Brown, David H.          Associate                           610.00           7.7     4,697.00
Prince, Scott E.         Associate                           500.00           1.5       750.00
Spreen, Janet A.         Partner                             780.00          62.7    48,906.00
Stevenson, Brittany E.   Associate                           400.00          17.3     6,920.00
VanNiel, Michael A.      Partner                             790.00           2.8     2,212.00
Vlasek, Jeffrey R.       Partner                             555.00          34.5    19,228.50

                                                                             126.5   82,713.50
                                                     Less Discounts                  -8,271.35
                                                              Total          126.5   74,442.15
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                LORDSTOWN MOTORS
                LORDSTOWN     MOTORS CORP.
                                        CORP.
                    EXPENSE SUMMARY
                    EXPENSE      SUMMARY
            DECEMBER 1,
            DECEMBER  1, 2023
                         2023 -- DECEMBER
                                 DECEMBER 31,
                                            31, 2023
                                                2023

    Delivery
    Delivery Services
             Services                                 38.38
                                                      38.38

    Total
    Total                                             38.38
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Regarding:                General Corporate Matters (2022-2024)
Matter Number:            116592.000110



Date         Name               Description                                                Rate      Hours        Amount

12/13/23     VanNiel,           Correspondence with working groups                        790.00       0.30         237.00
             Michael A.         regarding status of ongoing matters and
                                recent bankruptcy developments.

12/13/23     VanNiel,           Review and analyze select bankruptcy                      790.00       1.00         790.00
             Michael A.         materials relevant to ongoing matters which
                                firm was asked to handle by client.

Case Administration(B110)                                                                              1.30       1,027.00

12/29/23     Prince, Scott E. Draft supplemental VanNiel declaration in                   500.00       1.50         750.00
                              support of Baker retention at Mr. VanNiel's
                              request.

Fee - Employment Application(B160)                                                                     1.50         750.00

12/04/23     VanNiel,           Review and analyze recent developments                    790.00       1.50       1,185.00
             Michael A.         potentially impacting corporate and general
                                securities matters.

Other Contested Matters(B190)                                                                          1.50       1,185.00

12/01/23     Spreen, Janet      Attention to preparation of employment                    780.00       0.30         234.00
             A.                 agreement settlement agreements.

12/04/23     Spreen, Janet      Attention to preparation of employment                    780.00       1.50       1,170.00
             A.                 agreement settlement agreements.

12/05/23     Spreen, Janet      Review and revise severance agreement.                    780.00       2.00       1,560.00
             A.

12/06/23     Spreen, Janet      Review and revise severance agreement                     780.00       2.00       1,560.00
             A.                 forms.

12/07/23     Spreen, Janet      Attention to severance agreement forms                    780.00       2.00       1,560.00
             A.                 and consulting agreements.

12/08/23     Spreen, Janet      Attention to severance agreement forms                    780.00       2.60       2,028.00
             A.                 and consulting agreements.




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Date       Name               Description                                                 Rate     Hours        Amount
12/12/23   Spreen, Janet      Attention to severance agreement forms                    780.00      0.50         390.00
           A.                 and consulting agreements.

12/15/23   Spreen, Janet      Attention to severance agreement                          780.00       0.30         234.00
           A.                 comments and questions.

12/19/23   Spreen, Janet      Attention to drafting of severance                        780.00       2.00       1,560.00
           A.                 agreements and questions and comments
                              on terms.

12/20/23   Spreen, Janet      Attention to creation of 15 severance                     780.00       2.20       1,716.00
           A.                 agreements and questions and comments
                              on terms.

12/21/23   Spreen, Janet      Attention to updates and revisions to 15                  780.00       6.30       4,914.00
           A.                 severance agreements.

12/22/23   Spreen, Janet      Attention to updates and revisions to 15                  780.00       1.50       1,170.00
           A.                 severance agreements.

Operations(B200)                                                                                    23.20      18,096.00

12/04/23   Vlasek, Jeffrey Begin drafting release agreement per term                    555.00       0.70         388.50
           R.              sheet for executives.

12/04/23   Vlasek, Jeffrey Telephone call with Ms. Spreen regarding                     555.00       0.40         222.00
           R.              severance and release agreements for
                           executives.

12/05/23   Vlasek, Jeffrey Continue drafting settlement agreement for                   555.00       4.00       2,220.00
           R.              severed executives.

12/06/23   Vlasek, Jeffrey Review follow-up from client regarding                       555.00       0.70         388.50
           R.              additional severance agreements.

12/07/23   Vlasek, Jeffrey Draft additional severance and consulting                    555.00       3.20       1,776.00
           R.              agreements for five additional management
                           team members.

12/08/23   Vlasek, Jeffrey Draft and revise employment agreement                        555.00       5.20       2,886.00
           R.              and severance documents; telephone call
                           with Ms. Spreen regarding same.

12/11/23   Vlasek, Jeffrey Revise draft severance agreement following                   555.00       1.10         610.50
           R.              client comments.

12/12/23   Vlasek, Jeffrey Review and annotate revised severance                        555.00       0.70         388.50



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Date         Name               Description                                                Rate      Hours        Amount
             R.                 agreements.

12/14/23     Vlasek, Jeffrey Review and respond to client question                        555.00       0.50         277.50
             R.              regarding unemployment benefits.

12/15/23     Smith, Stefan P. Confer with Ms. Spreen regarding RSU                        825.00       0.30         247.50
                              settlement issues.

12/15/23     Vlasek, Jeffrey Review additional edits from Mr. Kroll                       555.00       1.30         721.50
             R.              regarding severance agreements.

12/19/23     Vlasek, Jeffrey Review additional client questions on draft                  555.00       0.90         499.50
             R.              severance agreement.

12/20/23     Vlasek, Jeffrey Revise draft severance agreement pursuant                    555.00       3.30       1,831.50
             R.              to additional comments from client.

12/21/23     Vlasek, Jeffrey Continue revisions to executive and                          555.00       6.70       3,718.50
             R.              consulting agreements.

12/22/23     Vlasek, Jeffrey Continue revisions to severance                              555.00       4.10       2,275.50
             R.              agreements for executives.

12/26/23     Vlasek, Jeffrey Revise severance agreements with                             555.00       1.40         777.00
             R.              modifications to consulting portions.

Business Operations(B210)                                                                             34.50      19,228.50




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B460                     Securities Matters
                         116592.000024




Name                                                                        Hours             Rate                  Amount
Spreen, Janet A.                                                             39.50      $ 780.00       $          30,810.00
Brown, David H.                                                               7.70          610.00                 4,697.00
Stevenson, Brittany E.                                                       17.30          400.00                 6,920.00
10% Courtesy Discount                                                                                             (4,242.70)
                           Total                                             64.50                     $          38,184.30



Date         Name                            Description                                             Hours         Amount

11/02/23     Brown, David H.                 Review and prepare Form 10-K items to be                 1.10           671.00
                                             added to Part III of 2024 filing.

11/03/23     Brown, David H.                 Continue to prepare 10-K items.                          0.70           427.00

11/05/23     Spreen, Janet A.                Review and comment on initial drafts from                1.50         1,170.00
                                             Mr. Brown for 10-K items.

11/07/23     Brown, David H.                 Review risk factors for updating in form 10-             0.80           488.00
                                             K.

11/09/23     Brown, David H.                 Update Description of Capital Stock and                  1.20           732.00
                                             exhibit list for filing with 10-K.

11/10/23     Brown, David H.                 Review requirements for severance                        0.80           488.00
                                             reporting and other compensation
                                             questions for form 10-K.

11/16/23     Brown, David H.                 Continue to prepare Part III items for Form              3.10         1,891.00
                                             10-K.

12/01/23     Spreen, Janet A.                Correspondence with Messrs. Kroll and                    1.30         1,014.00
                                             Port regarding Internal controls requirement
                                             questions.

12/05/23     Stevenson, Brittany E.          Prepare and distribute resolutions for                   0.10            40.00
                                             signature.

12/06/23     Spreen, Janet A.                Attention to Form 10-K items question.                   0.50           390.00



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Date         Name                            Description                                            Hours           Amount

12/07/23     Spreen, Janet A.                Attend Board Meeting.                                    1.00            780.00

12/07/23     Stevenson, Brittany E.          Review smaller reporting company                         1.60            640.00
                                             reporting requirements for 10-K matters.

12/08/23     Spreen, Janet A.                Attention to registration rights and share               0.30            234.00
                                             mechanics follow up questions.

12/08/23     Stevenson, Brittany E.          Obtain EDGAR codes.                                      0.30            120.00

12/11/23     Spreen, Janet A.                Prepare board and committee minutes.                     1.00            780.00

12/11/23     Spreen, Janet A.                Attention to DTC question.                               0.10             78.00

12/12/23     Spreen, Janet A.                Prepare board and committee minutes.                     0.60            468.00

12/12/23     Spreen, Janet A.                Attention to questions on Stock Transfer                 2.00          1,560.00
                                             Restrictions.

12/12/23     Spreen, Janet A.                Review draft amended and restated charter                1.00            780.00
                                             and bylaws.

12/13/23     Spreen, Janet A.                Review charter provisions and NOL                        1.20            936.00
                                             restriction mechanics.

12/13/23     Stevenson, Brittany E.          Research rules and logistics related to                  2.50          1,000.00
                                             trading restrictions.

12/13/23     Stevenson, Brittany E.          Call with Ms. Spreen to discuss Delaware                 0.20             80.00
                                             General Corporate Law and trading
                                             restrictions research.

12/14/23     Spreen, Janet A.                Attention to questions on NOL restrictions,              2.70          2,106.00
                                             transfer agent requirements and related
                                             matters.

12/14/23     Spreen, Janet A.                Attention to preparation of checklist of                 1.00            780.00
                                             governance and securities items for
                                             emergence.

12/15/23     Spreen, Janet A.                Attention to share mechanics and related                 1.70          1,326.00
                                             questions for bankruptcy emergence.

12/15/23     Spreen, Janet A.                Review registration rights agreement and                 1.30          1,014.00
                                             remaining holders for possible waiver.




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Date       Name                            Description                                            Hours           Amount
12/15/23   Spreen, Janet A.                Call with working group regarding                       1.00            780.00
                                           preparations for emergence.

12/15/23   Spreen, Janet A.                Attention to preparation of checklist of                 0.40            312.00
                                           governance and securities items for
                                           emergence.

12/15/23   Spreen, Janet A.                Call with Mr. Port regarding share                       0.50            390.00
                                           settlement mechanics and tax witholding.

12/15/23   Spreen, Janet A.                Call with Mr. Smith regarding tax witholding             0.30            234.00
                                           for RSU settlement.

12/15/23   Stevenson, Brittany E.          Review sample Form 8-Ks.                                 2.20            880.00

12/18/23   Spreen, Janet A.                Call with Ms. Stevenson to review checklist              0.80            624.00
                                           of emergence governance and SEC filing
                                           actions.

12/18/23   Spreen, Janet A.                Prepare checklist of emergence                           0.40            312.00
                                           governance and SEC filing actions.

12/18/23   Spreen, Janet A.                Research and review disclosure samples                   2.00          1,560.00
                                           for emergence 8-K and NOL matters.

12/18/23   Spreen, Janet A.                Correspondence with transfer agent                       0.40            312.00
                                           regarding stock and contract questions.

12/18/23   Stevenson, Brittany E.          Call with Ms. Spreen to discuss emergence                0.70            280.00
                                           checklist.

12/18/23   Stevenson, Brittany E.          Prepare withdrawal letter.                               1.00            400.00

12/18/23   Stevenson, Brittany E.          Prepare registration rights waiver.                      0.30            120.00

12/19/23   Spreen, Janet A.                Attention to review of charter and bylaws.               1.00            780.00

12/19/23   Spreen, Janet A.                Call with transfer agent regarding stock                 1.00            780.00
                                           matters.

12/19/23   Stevenson, Brittany E.          Prepare withdrawal letter.                               0.60            240.00

12/19/23   Stevenson, Brittany E.          Attend call to discuss transfer agent                    0.30            120.00
                                           logistics.

12/19/23   Stevenson, Brittany E.          Prepare registration rights waiver.                      1.30            520.00




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Date       Name                            Description                                           Hours           Amount
12/20/23   Spreen, Janet A.                Attention to review of charter and bylaws.             1.00            780.00

12/20/23   Spreen, Janet A.                Correspondence with CUSIP and DTC                       0.50            390.00
                                           regarding stock matters.

12/20/23   Spreen, Janet A.                Attention to stock plan questions.                      1.40          1,092.00

12/20/23   Stevenson, Brittany E.          Prepare registration rights waiver.                     0.50            200.00

12/20/23   Stevenson, Brittany E.          Prepare resolutions.                                    1.70            680.00

12/21/23   Spreen, Janet A.                Attention to review of charter and bylaws.              1.00            780.00

12/21/23   Stevenson, Brittany E.          Prepare resolutions.                                    2.00            800.00

12/22/23   Spreen, Janet A.                Attention to resolutions and open matters               1.00            780.00
                                           for board meeting.

12/22/23   Stevenson, Brittany E.          Prepare resignation letters.                            0.50            200.00

12/24/23   Spreen, Janet A.                Correspondence with Brown Rudnick                       1.00            780.00
                                           regarding charter and open questions for
                                           effective date stock mechanics and board
                                           grants.

12/26/23   Spreen, Janet A.                Prepare for and attend Board meeting.                   1.00            780.00

12/26/23   Spreen, Janet A.                Correspondence with Ms. Stevenson                       2.00          1,560.00
                                           regarding planning for new director SEC
                                           filings and related matters and review
                                           same.

12/26/23   Stevenson, Brittany E.          Prepare resolutions.                                    0.90            360.00

12/26/23   Stevenson, Brittany E.          Review EDGAR codes and prepare power                    0.30            120.00
                                           of attorney.

12/27/23   Spreen, Janet A.                Attention to transfer agent questions and               1.00            780.00
                                           amendment to agreement.

12/27/23   Spreen, Janet A.                Revise charter and bylaws to reflect input              1.00            780.00
                                           from White & Case.

12/28/23   Spreen, Janet A.                Correspondence regarding charter and                    0.60            468.00
                                           bylaws comments.

12/28/23   Spreen, Janet A.                Review and discuss revised plan filing.                 1.50          1,170.00



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Date         Name                            Description                                           Hours           Amount

12/28/23     Stevenson, Brittany E.          Review sample notices and waiver of                     0.30            120.00
                                             registration rights.

12/29/23     Spreen, Janet A.                Attention to RSU vesting matters and                    0.20            156.00
                                             Section 16 reporting.

12/29/23     Spreen, Janet A.                Correspondence regarding DTC                            1.00            780.00
                                             requirements and transfer agent
                                             agreement.

12/29/23     Spreen, Janet A.                Attention to plan updates and timing of                 0.30            234.00
                                             filing.

             Total                                                                                  64.50         42,427.00




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